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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 10-60194-CR-COHN/SELTZER

  UNITED STATES OF AMERICA,

  v.

  DENNIS GUARACINO,

               Defendant.

  ____________________________/

                 ORDER DENYING MOTION TO DISMISS COUNT TWO

        THIS CAUSE is before the court on Defendant Dennis Guaracino, Jr.’s Motion to

  Dismiss Count Two of the Indictment for Violation of the Applicable Statute of

  Limitations under Title 18 U.S.C. § 3282(a) [DE 1267]. The Court has considered the

  motion, the Government’s response [DE 1272], the Defendant’s reply [DE 1276], the

  Government’s sur-reply [DE 1290], trial evidence, and is otherwise advised in the

  premises.

        The issue presented is whether the limitations period for filing criminal charges

  for mail fraud as to Count Two is five years or ten years. The Government contends

  that the limitation period is ten years under Title 18 U.S.C. § 3293(2) because the

  offense “affects a financial institution.” The Government asserts that First National

  Bank of Arizona is an insured depository institution, insured by the Federal Deposit

  Insurance Corporation, and the Defendant’s mail fraud conduct affected this financial

  institution. See United States v. Pelullo, 964 F.2d 193 (3d Cir. 1992); United States v.

  Serpico, 320 F.3d 691 (7th Cir. 2003).

        Defendant Dennis Guaracino, Jr. maintains that the ten year statute does not
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  apply because First National Bank of Arizona realized no loss or risk of loss and

  therefore was not affected by the mail fraud conduct. He argues that First National

  Bank of Arizona made the loan and then immediately sold it to another company and

  made a profit. The Defendant alleges the loan was sold with the knowledge that the

  information contained with the loan application was fraudulent. He asserts that First

  National Bank of Arizona was aware, involved, and participated in the scheme and

  therefore was not affected by the fraud allegedly perpetrated by the Defendant.

        Since the scheme to defraud exposed First National Bank of Arizona to an

  increased degree of risk, the scheme affected that financial institution for purposes of

  § 3293(2). Serpico, 320 F.3d at 694-95. As former First National Bank of Arizona

  employee, Kirk Lane, testified, First National Bank of Arizona was at risk of being forced

  to buy back loans it had sold to secondary investors if the fraud was found or default

  occurred. As such, the Defendant’s scheme affected the financial institution. Thus, the

  ten-year statute of limitations applies and Defendant’s motion must therefore be denied.

        Accordingly, it is thereupon

        ORDERED AND ADJUDGED that Defendant Dennis Guaracino, Jr.’s Motion to

  Dismiss Count Two of the Indictment for Violation of the Applicable Statute of

  Limitations under Title 18 U.S.C. § 3282(a) [DE 1267] is DENIED.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, on this 22nd day of June, 2011.




  Copies provided to:
  Counsel of record via CM/ECF

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